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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)

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 In re:                                                                  Chapter 11

          BED BATH & BEYOND INC., et al.                                 Case No. 23-13359 (VFP)
                         Debtors1
                                                                         Jointly Administered




                          NOTICE OF WITHDRAWAL OF APPEARANCE

          Kindly withdraw my appearance for Closter Marketplace (EBA), LLC in the above-

 captioned action.




                                                      DANA S. PLON, ESQUIRE

 April 28, 2023




 1  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
 the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
 website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location
 of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter
 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.
